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TROY L. ELLERMAN (161955)
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Attorney for
ROBERT PORTER


                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA, )
                                         )        No. 2:05-cr-0052 MCE
                    People ,             )
                                         )        MOTION FOR SUBSTITUTION OF COUNSEL;
             v.                          )        ORDER
                                         )
ROBERT PORTER, et. al.                   )
                                         )
                    Defendants.          )
                                         )


      Defendant ROBERT PORTER hereby moves this Court for an order substituting John
Brennan, 901 H Street, Suite 503, Sacramento, California, 95814; telephone (916) 498-1776 for
Troy Ellerman, as petitioner’s counsel in this matter. The Mr. Ellerman has determined that it is
currently unable to represent Defendant due to the fact he no longer practices law in California.
Mr. Brennan has agreed to take over this matter in Mr. Ellerman’s place. A copy of the court's file
in this case will be forwarded to John Brennan.


                                                  Respectfully submitted,

Dated: September 2,2005                           /s/ Troy Ellerman
                                                  TROY ELLERMAN
                                                  Attorney for Defendant
                                                  ROBERT PORTER
///
///
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Dated: September 2, 2005                        /s/ John Brennan
                                                JOHN BRENNAN
                                                Attorney for Defendant
                                                ROBERT PORTER

Dated: September 2, 2005                        /s/ Robert Porter
                                                ROBERT PORTER
                                                Defendant


                                         ********
       Pursuant to this Motion for Substitution of Counsel and for the reasons stated therein, IT IS
HEREBY ORDERED that John Brennan shall be substituted in as counsel for Defendant in place of
Troy Ellerman. All files shall be delivered to John Brennan not later than ten (10) days from the
date of this order.


Dated: September 15, 2005

                                      __________________________________
                                      MORRISON C. ENGLAND, JR
                                      UNITED STATES DISTRICT JUDGE
